Case 1:17-cr-00201-AB.] Document 17 Filed 11/01/17 Page 1 of 1

AO 458 (Rev 06/09) Appearance of Counsel

UNITED STATES DISTRICT CoURT

for the
District of Columbia F I L E D
NUV ’ 1 2017

 

 

United States of America ) C|erk, U.S. District and
pla,-m,y ) Bankruptcy Courts
v. ) Case No. 1:17-cr-00201-ABJ
f Paul J. |\Aanafor*c1 Jr. and Richard W. Gates ||| )
Defendant )
APPEARANCE OF COUNSEL
To: The clerk of court and all parties of record

l am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

United States of America

Date: 11/01/2017 %///%7%…

Attorrley ’s signature l

Andrew Weissmann NYS 2005924

Prirzted name and bar number

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